Case 23-05593-RLM-7A               Doc 108 Filed 05/21/24 EOD 05/21/24 15:01:28                              Pg 1 of 1
                                  SO ORDERED: May 21, 2024.




                                  ______________________________
                                  Robyn L. Moberly
                                  United States Bankruptcy Judge




                 UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF INDIANA
                      INDIANAPOLIS DIVISION
IN RE:                           )
                                 )
RODNEY GRUBBS                    )    CASE NO. 23-05593-RLM-7
                                 )
           DEBTOR.               )

                       ORDER GRANTING MOTION FOR SALE BY AUCTION,
                     FREE AND CLEAR OF LIENS PURSUANT TO 11 U.S.C.§363(f)

           Joanne Friedmeyer, Trustee herein, having filed her Motion for Sale by Auction Pursuant to

11 U.S.C.§363(f) and Notice of Objection Deadline [Doc. No. 76] (the “Motion”) seeking authority to

sell the Assets1, as described in the Motion, and the Court, having considered said Motion, and it

appearing therefrom that auction sale of the Assets is in the best interests of the Bankruptcy Estate,

that the Motion has been served on all parties in interest, and no objections having been filed to the

Motion, now finds that said Motion should be GRANTED. Accordingly, it is

           ORDERED that the Assets described in the Motion are property of the Estate.

           It is further ORDERED that the Motion of the Trustee be, and hereby is, GRANTED and that

the Trustee is authorized to sell the Assets via auction, as set forth in the Motion;

           It is further ORDERED that the sale of the Assets sought to be sold via the Motion shall be free

and clear of all liens, pursuant to 11 U.S.C. §363(f).

                                                                  ###




1
    All capitalized terms used herein, not defined herein, shall have the meaning ascribed to them in the Motion.
